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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


LEANDRA ENGLISH,

                       Plaintiff,

       v.
                                                      Case No. 17-cv-2534
DONALD J. TRUMP, and
JOHN MICHAEL MULVANEY,

                       Defendants.


         DECLARATION OF DEEPAK GUPTA UNDER LOCAL RULE 65.1(B)

I, Deepak Gupta, declare as follows:

       1.      I am the lead counsel for the plaintiff, Leandra English, and an attorney at the law

firm of Gupta Wessler PLLC, with offices at 1900 L Street, NW, Washington, DC 20036. I am

making this declaration in support of the plaintiff’s motion for a temporary restraining order and

to comply with Local Rule 65.1. The statements in this declaration are based on my personal

knowledge, research conducted for this case, and my communications with the Court and with

opposing counsel at the U.S. Department of Justice.

       2.      I filed an emergency application on behalf of Ms. English outside of the Court’s

regular business hours. I was unable to provide notice to the Clerk of this Court ahead of time

during regular business hours, as Local Rule 65.1(b) requests counsel to do if possible.

       3.      It was not possible to notify the Clerk of this emergency application during regular

business hours because the bases for this suit and emergency application for relief were not

evident as of the Clerk’s Office closing time of 4:00pm on Friday, November 24, 2017. As of that

time, it was not yet clear that defendant Donald J. Trump would take immediate action to

attempt to appoint defendant John Michael Mulvaney to the position of Acting Director of the
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Consumer Financial Protection Bureau. Nor was it clear that Mr. Mulvaney would immediately

begin exercising his claimed authority in that role.

        4.      Since the Clerk’s Office was last open, press reports and statements by

government officials have indicated that the defendants regard Mr. Mulvaney to be the Acting

Director or soon-to-be Acting Director of the CFPB, and expect him to begin asserting his

authority in that capacity within hours of this filing (if he has not already begun to do so). The

New York Times, for instance, reported on Saturday, November 25, that officials in the

President’s administration expect Mr. Mulvaney to “show up Monday, go into the office and

start working.” Stacy Cowley and Emily Cochrane, Who Will Be Running Consumer Agency on

Monday? It’s Unclear, New York Times (Nov. 25, 2017), https://goo.gl/qmUpge; see also Jim

Puzzanghera, White House says it’s on solid legal ground in making Mulvaney acting consumer bureau chief,

L.A. Times (Nov. 26, 2017), https://goo.gl/tnA6JC.

        5.      Because these reports emerged after the Clerk’s Office was closed for the

weekend, it was not possible to provide advance notice of plaintiff’s emergency application for a

temporary restraining order.

        6.      Since filing this case, I have provided notice of the case as well as copies of all

filings via email to Brett Shumate, Deputy Assistant Attorney General, Federal Programs Branch,

U.S. Department of Justice. Mr. Shumate has acknowledged the filing of the case, confirmed that

he represents the defendants in this matter, and responded to my email.

        7.      Since filing plaintiff’s emergency motion for a temporary restraining order, I have

called the U.S. Marshals Service Communications Center, as suggested by the order on the

Court’s web site providing for emergency assignment judges, and requested that the assignment

judge be notified of our filings. The officer who answered the phone suggested that I file physical

copies of the emergency motion and accompanying documents in the dropbox at the Court


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before the Court’s opening hours. We are making the necessary arrangements to follow that

suggestion.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.


Dated: November 27, 2017                    Respectfully submitted,

                                           /s/ Deepak Gupta
                                           Deepak Gupta (D.C. Bar No. 495451)




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